                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

Civil Case No. 20-cv-03594-PAB-KMT

ETIENNE HARDRE, and
SDG MURRAY, LTD d/b/a LOCALS BARBERSHOP, a Colorado limited liability
company,

          Plaintiffs,

v.

BETSY MARKEY, in her official capacity as Executive Director of the Colorado Office of
Economic Development and International Trade, and
JARED POLIS, in his official capacity as Governor of Colorado,

          Defendants.


                                     FINAL JUDGMENT


          In accordance with the orders filed during the pendency of this case, and

pursuant to Fed. R. Civ. P. 58(a), the following Final Judgment is hereby entered.

          Pursuant to the Order [Docket No. 53] of Chief United States District Judge Philip

A. Brimmer entered on April 19, 2021, it is

          ORDERED that plaintiffs’ Motion for Preliminary Injunction [Docket No. 27] is

DENIED. It is further

          ORDERED that defendants’ Motion to Dismiss [Docket No. 42] is GRANTED. It

is further

          ORDERED that plaintiffs’ claim for relief is DISMISSED without prejudice. It is

further

          ORDERED that judgment shall enter for defendants and against plaintiffs on all

claims. It is further
      ORDERED that defendants are awarded their costs, to be taxed by the Clerk of

the Court pursuant to Fed. R. Civ. P. 54(d)(1) and D.C.COLO.LCivR 54.1. It is further

      ORDERED that this case is closed.



      Dated: April 20, 2021

                                               FOR THE COURT:

                                               Jeffrey P. Colwell, Clerk


                                               By s/ S. Grimm
                                                         Deputy Clerk




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